260 F.2d 955
    Carmela Accordino DENIS, Petitioner Appellant,v.John L. MURFF, as District Director of Immigration and Naturalization of the District of New York, Respondent-Appellee.
    No. 168.
    Docket 25391.
    United States Court of Appeals Second Circuit.
    Argued November 7, 1958.
    Decided November 20, 1958.
    
      Nathan Kestnbaum, New York City, for petitioner-appellant.
      Roy Babitt, Sp. Asst. U. S. Atty., S.D. N.Y., New York City (Arthur H. Christy, U. S. Atty., New York City, on the brief), for respondent-appellee.
      Before CLARK, Chief Judge, WATERMAN, Circuit Judge, and GALSTON, District Judge.
      PER CURIAM.
    
    
      1
      The record shows no adequate grounds for interference with the administrative proceedings for deportation of this petitioner. There is substantial evidence to support the finding of the Special Inquiry Officer and the Board of Immigration Appeals that petitioner engaged in prostitution, as well as their rejection of her assertion, as to the statement she gave an Immigration and Naturalization Service Investigator, that she did not understand the questions asked her and that prior to making the statement she had asked for and been denied an opportunity to consult with counsel.
    
    
      2
      Affirmed.
    
    